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From:                         Aaron Craig <ACraig@KSLAW.com>
Sent:                         Tuesday, September 24, 2024 3:39 PM
To:                           Marzorati, Luca; Mina Tunson-Stevenson; Cagney, Craig
Cc:                           Joe Akrotirianakis; fb.nso; K&S NSO
Subject:                      RE: WhatsApp LLC et al. v. NSO Group Technologies Ltd. et al., 4:19-cv-07123-PJH


Luca, we will be filing our opposi on to Plain ﬀs’ administra ve mo on today. Unless the court grants your
administra ve mo on, the filing of any discovery mo ons is un mely, and therefore conferring about discovery disputes
would be a poor use of both sides’ resources.

Aaron



From: Marzorati, Luca <luca.marzorati@davispolk.com>
Sent: Monday, September 23, 2024 12:32 PM
To: Aaron Craig <ACraig@KSLAW.com>; Mina Tunson-Stevenson <MTunson@KSLAW.com>; EXT - Craig Cagney
<craig.cagney@davispolk.com>
Cc: Joe Akrotirianakis <JAkro@KSLAW.com>; EXT - fb nso <fb.nso@davispolk.com>; K&S NSO <K&SNSO@KSLAW.com>
Subject: RE: WhatsApp LLC et al. v. NSO Group Technologies Ltd. et al., 4:19-cv-07123-PJH

CAUTION: MAIL FROM OUTSIDE THE FIRM
Aaron,

We are available tomorrow after 2 pm PT. Are you available during that window?

Thanks,
Luca



Luca Marzorati
+1 212 450 3660 office
+1 718 304 6950 mobile
luca.marzorati@davispolk.com


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From: Aaron Craig <ACraig@KSLAW.com>
Sent: Monday, September 23, 2024 2:20 PM
To: Marzorati, Luca <luca.marzorati@davispolk.com>; Mina Tunson-Stevenson <MTunson@KSLAW.com>; Cagney, Craig
<craig.cagney@davispolk.com>
Cc: Joe Akrotirianakis <JAkro@KSLAW.com>; fb.nso <fb.nso@davispolk.com>; K&S NSO <K&SNSO@KSLAW.com>
Subject: RE: WhatsApp LLC et al. v. NSO Group Technologies Ltd. et al., 4:19-cv-07123-PJH


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Luca, I’m afraid we’re not able to confer on this today.

Aaron

From: Marzorati, Luca <luca.marzorati@davispolk.com>
Sent: Monday, September 23, 2024 7:26 AM
To: Mina Tunson-Stevenson <MTunson@KSLAW.com>; EXT - Craig Cagney <craig.cagney@davispolk.com>
Cc: Aaron Craig <ACraig@KSLAW.com>; Joe Akrotirianakis <JAkro@KSLAW.com>; EXT - fb nso <fb.nso@davispolk.com>;
K&S NSO <K&SNSO@KSLAW.com>
Subject: RE: WhatsApp LLC et al. v. NSO Group Technologies Ltd. et al., 4:19-cv-07123-PJH

CAUTION: MAIL FROM OUTSIDE THE FIRM
Counsel,

We would like to meet and confer with you regarding this letter, including with respect to the topics that the
letter doesn’t address. We also would like to meet and confer with you regarding Defendants’ position
regarding the Westbridge production, because we believe that we may be able to narrow the issues for the
Court.

Are you available today between noon PT and 2 pm PT? If not, please let us know your available windows.

Thank you,
Luca



Luca Marzorati
+1 212 450 3660 office
+1 718 304 6950 mobile
luca.marzorati@davispolk.com


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From: Mina Tunson-Stevenson <MTunson@KSLAW.com>
Sent: Friday, September 20, 2024 6:30 PM
To: Cagney, Craig <craig.cagney@davispolk.com>
Cc: Aaron Craig <ACraig@KSLAW.com>; Joe Akrotirianakis <JAkro@KSLAW.com>; fb.nso <fb.nso@davispolk.com>; K&S
NSO <K&SNSO@KSLAW.com>
Subject: WhatsApp LLC et al. v. NSO Group Technologies Ltd. et al., 4:19-cv-07123-PJH

Counsel,
Please see the a ached correspondence from Mr. Craig. Thank you.



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